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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     AMARILLO DIVISION

   TERRY DALE CARNES,
   TDCJ-CID No. 1756290,

              Plaintiff,

   v.                                                       2:24-CV-134-Z-BR

   TEXAS TECH MEDICAL, et al.,

              Defendants.


        ORDER ADOPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION

         Before the Court are the findings, conclusions, and recommendation of the United States

  Magistrate Judge to deny Plaintiff's Motion asking the Court to place him in federal protective

  custody. ECF No. 13. No objections to the findings, conclusions, and recommendation have been

  filed. After making an independent review of the pleadings, files, and records in this case, the

  District Judge concludes that the findings, conclusions, and recommendation of the Magistrate

  Judge are correct. ECF No.    15.   It is therefore ORDERED   that the findings, conclusions, and

  recommendation of the Magistrate Judge are ADOPTED and Plaintiff's Motion is DENIED.

         SO ORDERED.
                                                                       Lgl
         March WZ 2025



                                                      MATHEW J. KACSMARYK
                                                      UNITED STATES DISTRICT JUDGE
